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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 4:06CR104-P-B

JENNIFER YVONNE BERRY,
JOHNNIE LEE WINFIELD, AND
REHAB SOURCE, INC.,                                                            DEFENDANTS.

                                               ORDER

       This matter comes before the court upon Defendant Johnnie Lee Winfield’s Joint Motion to

Continue Trial and to Extend Pretrial Deadlines [27-1]. After due consideration of the motion the

court finds as follows, to-wit:

       Trial is currently set for all defendants on December 4, 2006. Defense counsel avers they

need additional time to review the voluminous documentary evidence yielded from the discovery

process. Furthermore, one of the defendants’ attorneys has a previously set trial in State court on the

same day as that set for the instant matter.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from December 4, 2006 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for their client’s defense. As such, the ends of justice served by the granting of

this continuance outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:


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       (1) Defendant Johnnie Lee Winfield’s Joint Motion to Continue Trial and to Extend Pretrial

Deadlines [27-1] is hereby GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, March 19, 2007 at

9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from December 4, 2006 to March 19, 2007 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is February 26, 2007; and

       (5) The deadline for submitting a plea agreement is March 5, 2007.

       SO ORDERED this the 30th day of October, A.D., 2006.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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